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     Attorney for Defendant
6    NARCO MCFARLAND, SR.

7                        IN THE UNITED STATES DISTRICT COURT FOR THE

8                               EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,                      )       No. 2:12-cr-00169 MCE
                                                    )
11                                                  )       STIPULATION AND ORDER FOR A PRE-
            Plaintiff,                              )       PLEA ADVISORY GUIDELINE SENTENCE
12                                                  )       PRESENTENCE INVESTIGATION REPORT
     v.                                             )
13                                                  )
     NARCO MCFARLAND, SR.                           )
14                                                  )
                                                    )
15                                                  )
            Defendant                               )
16                                                  )
                                                    )
17

18
                                            STIPULATION
19

20
            Plaintiff United States of America, by and through its counsel of record, and the
21
     defendant, by and through his counsel of record, hereby stipulate as follows:
22

23          1.      By previous order, this matter was set for status on August 9, 2012 at 9:00 a.m.

24          2.      By this stipulation, the parties have conferred and agree that additional time is
25
     needed for negotiation between the parties with the hope of resolving the case. Specifically, the
26
     parties have agreed that a pre-plea advisory guideline presentence investigation report would aid
27
     the parties toward resolving the case and respectfully request that this Court order the Probation
28
                                                        1
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     Office to produce a pre-plea advisory guideline presentence investigation report in Mr.
1

2    McFarland’s case. The defense has consulted with Probation and has learned that they will need

3    eight (8) weeks to prepare a report. The defendant now moves to continue the status conference
4
     scheduled for NARCO MCFARLAND, SR. only until September 20, 2012, at 9:00 a.m. and to
5
     exclude time between July 16, 2012, the date of this stipulation, and September 20, 2012 under
6

7
     Local Code T4. Plaintiff does not oppose this request.

8           3.      The parties agree and stipulate, and request that the Court find the following:
9           a.      The government has represented that the discovery associated with this case
10
     includes approximately 1,952 pages of investigative reports and related documents in electronic
11
     form and 2 discs containing many hours of recorded telephone calls. All of this discovery has
12

13   been produced directly to counsel.

14          b.      Counsel for the defendant desires additional time to consult with his client, to
15
     review the current charges, to conduct investigation and research related to the charges, to review
16
     and copy discovery for this matter, to discuss potential resolutions with his client, to prepare
17
     pretrial motions, and to otherwise prepare for trial. Counsel for the defendant also seeks to
18

19   review a pre-plea advisory guideline presentence investigation report with the defendant.

20          c.      Counsel for the defendant believes that failure to grant the above-requested
21
     continuance would deny him the reasonable time necessary for effective preparation, taking into
22
     account the exercise of due diligence.
23
            d.      The government does not object to the continuance.
24

25          e.      Based on the above-stated findings, the ends of justice served by continuing the
26   case as requested outweigh the interest of the public and the defendants in a trial within the
27
     original date prescribed by the Speedy Trial Act.
28
                                                      2
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                   f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
1

2    et seq., within which trial must commence, the time period of July 16, 2012, to September 20,

3    2012, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
4
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
5
     of the Court's finding that the ends of justice served by taking such action outweigh the best
6

7
     interest of the public and the defendants in a speedy trial.

8                  4.      Nothing in this stipulation and order shall preclude a finding that other provisions
9    of the Speedy Trial Act dictate that additional time periods are excludable from the period within
10
     which a trial must commence.
11
     IT IS SO STIPULATED.
12

13   Dated: July 16, 2012                                               U.S. ATTORNEY

14                                                               by:    /s/ David D. Fischer for
                                                                        JASON HITT
15
                                                                        Assistant U.S. Attorney
16                                                                      Attorney for Plaintiff

17   Dated: July 16, 2012                                               /s/ David D. Fischer
                                                                        DAVID D. FISCHER
18
                                                                        Attorney for Defendant
19                                                                      NARCO MCFARLAND, JR.

20

21                                                     ORDER

22                 IT IS SO ORDERED.

23
     Dated: July 17, 2012
24
                                                     __________________________________
25
                                                     MORRISON C. ENGLAND, JR
26                                                   UNITED STATES DISTRICT JUDGE

27   nature-END:




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                                                            3
